Case 3:16-cV-OO414-HTW-LRA Document 1 Filed 06/02/16 Page 1 of 10

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
NORTHERN DIVISION

 

EXPRESS OIL CHANGE, LLC, and
TE, LLC d/b/a TIRE ENGINEERS,

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Plaintiff, ]
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v. )§.’iécv j § H{LM!Z§”
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l\/[lSSlSSiPPl BOARD OF ]
LICENSURE FOR PROFESSIONAL ]
l
)

ENGINEERS 81 SURVEYORS,
Defenciant.

COMPLAINT FOR DECLARATGRY UDGMENT

 

Plaintiffs EXpress Oil Change, LLC and TE, LLC d/b/a Tire Engineers
{collectively referred to hereinafter as “Plaintiffs" or “Tire Engineers"], for their
causes of action against Defendant i\/[ississippi Board of Licensure for
Professional Engineers & Surveyors [the “Board"], allege as follows:

I. INTRODUCTION AND BACKGROUND

This is an action for declaratory judgment seeking a ruling that Tire
Engineers" use of the Word “Engineers" in its trade name does not violate
Mississippi laW, is a proper exercise of its commercial free Speech rights and
that the Board is pre-enipted by the Lanharn Act from abridging its right to use

the federally registered service mark “Tire Engineers.”

 

 

Case 3:16-cv-00414-HTW-LRA Document 1 Filed 06/02/16 Page 2 of 10

This dispute began on Febrnary 13, 2015 When Tire Engineers received
correspondence from the Board stating in part, that “The law states no person
shall directly or indirectly use the term ‘engineer' in any manner Whatsoever
that tends to or is likely to create any impression With the public that any
person is qualified or authorized to practice engineering." A true and correct
copy of the correspondence is attached hereto as Exhibit “A”.

After a lengthy series of communications and an Informal Conference at
the Board’s office, on ]anuary 19, 2916, the Board provided Tire Engineers With
an Opinion from the Attorney Generai (“Opinion"), denying Tire Engineer’s use
of the term “engineers”, The opinion also stated, in part, that “The Board's
authority is limited to the express authority provided by statute and the
authority vvhich is necessarily implied”. The opinion stated that Tire Engineers’
use ofthe vvord “engineer” violates l\/iississippi Code §§ 73»13-1 through 73-13-
45. A true and correct copy of the Opinion is attached hereto as Exhibit “B”.

On l\/iarch 17, 2016 counsel for Tire Engineers met With the Office of
Attorney General of l\/iississippi to request reconsideration of the Board’s denial
for permission of use of the term “engineers” at its locations in the State of
i\/lississippi. The Board replied on l\/iay 16, 2016 and denied Tire Engineer’s
request for reconsideration of this issue. A true and correct copy of said

correspondence is attached hereto as EXhibit "C".

Case 3:16-cv-00414-HTW-LRA Document 1 Filed 06/02/16 Page 3 of 10

As a result of The Board's findings, Tire Engineers brings this matter

before this Honorable Court for a declaration of its rights
II. lURISDICTION AND VENUE

1. This action is brought pursuant to Fed, R. Civ. P. 57 and the
Deciaratory judgment Act, 28 U.S.C. § 2201-2202. The Parties have ajusticiabie
controversy and the Plaintiff seeks a ruling that Wili terminate the controversy

2. T his Court has subject matter jurisdiction over this action under 15
U.S.C. § 1121, 15 U.S.C § 1115, 28 U.S.C. §§ 1331 and 1338 because it involves
potential claims and an actual controversy arising under the Lanharn Act. in
addition, pursuant to 28 U.S.C. § 13 32(a) [1] this Court has jurisdiction over this
matter based on diversity of the parties and the amount in controversy exceeds
seventy five thousand dollars ($75,000].

3. The Court has specific personal jurisdiction over Defendant in that
this is the forum Where Defendant resides

4. Venue is proper in this action because this is the judicial district
Where the Defendant resides and Where a substantial part of the events giving

rise to the claim occurred

Case 3:16-cv-00414-HTW-LRA Document 1 Filed 06/02/16 Page 4 of 10

III. PARTIES

5. Express Oil Change, LLC is a limited liability company organized
and existing under the laws of the State ofAlabama, with its principal place of
business located at 1800 Southpark Drive, Birmingham, AL 35244.

6. TE, LLC d/b/a Tire Engineers is a wholly owned subsidiary of
EXpress Oil Change, LLC. TE, LLC d/b/a Tire Engineers is a corporation
organized and existing under the laws of the State of Alabama, with its principal
place ofbusiness located at 1800 Southpark Drive, Birmingham, AL 35244.

7. Defendant Mississippi Board of Licensure for Professionai
Engineers & Surveyors is the agency charged with administering and enforcing
the provisions of r`i`itle 73, Chapter 13 ofthe Mississippi Code. Pursuant to Fed.
R. Civ. P. 4(]][2][A], the Board may be served through its Executive Director,
l\/lark Humphreys, l\/lississippi Board of Licensure for Professional Engineers

and Surveyors, 660 North Street, Suite 400, jackson, MS 39202.

IV. FACTS

 

8. In February 2013, TE, LLC purchased the assets of Tire Engineers,
Inc. which includes the trade name and service mark "Tire Engineers."

(Affidavit of]osh Henderson jj 3).

Case 3:16-cv-00414-HTW-LRA Document 1 Filed 06/02/16 Page 5 of 10

9. Tire Engineers has the trade names and registered service marks
1] “Tire Engineers" bearing USPTO Registration No. 4,44-2,726; 2) "TE" bearing
USPTO Registration NO. 4,623,570, and 3] “EXpress Oil Change/Tire Engineers"
bearing USPTO Registration No. 4,566,952. [Affidavit of]osh Henderson, ‘|Hl 3,
4].

10. Each of these federally registered marks correctly described the
nature of Tire Engineers’ business as r‘repair of automobiles, namely, oil
changes, tire rotation, Wheel balance, engine services, belts, air conditioning
computerized diagnostics and transmission services . . . and automobile repair
and maintenance.” None of Tire Engineers’ service marks represent to the
public that Tire Engineers offers or performs professional engineering services
[Affidavit of ]osh Henderson, ‘jj 4).

11. There are nine [9] Tire Engineers locations currently operating in
the State of Mississippi. None of Tire Engineers' nine (9) locations in the State
of Mississippi for any of its locations in the United States] perform, offer or
attempt to perform any public or private service or creative work, the adequate
performance of which requires engineering education, training and experience
in applying special knowledge or judgment of the mathematical, physical or
engineering sciences to that service or creative work. [Affidavit of ]osh

Henderson, jj 6).

Case 3:16-cv-00414-HTW-LRA Document 1 Filed 06/02/16 Page 6 of 10

12. No Tire Engineers location within the State of l\/iississippi or any
other State engages in the “practice of engineering” as defined in l\/[ississippi
Code § 73-13-3. [Affidavit of ]osh Henderson,‘|j 7).

13. Tire Engineers does not use the terms “professional engineer",
“licensed engineer”, “registered engineer", "registered professional engineer”,
“licensed professional engineer” or "engineered” in connection with any of its
marketing branding or other intellectual property within the State of
l\/lississippi or any other location in the world in which it does business
[Affidavit of ]osh Henderson,‘|l 8].

14. The use of the service mark “Tire Engineers" does not and is not
likely to create an impression with the public that Tire Engineers or its
employees are qualified or authorized to engage in the practice of engineering
Tire Engineers has never offered nor represented to anyone that it is qualified
to offer professional engineering services [Affidavit of ]osh Henderson,jj 9].

15. Tire Engineers has never had an instance where a member of the
public believed that Tire Engineers offered professional engineering services
Tire Engineers is not aware of any instance involving citizens of the State of
l\/Iississippi where anyone believed or was under the impression that Tire

Engineers provided or offered to provide professional engineering services

[Affidavit of ]osh Henderson,‘|j 10].

 

Case 3:16-cv-00414-HTW-LRA Document 1 Filed 06/02/16 Page 7 of 10

16. Tire Engineers is not aware of any Way its use of the service marks
“Tire Engineers”, “TE” or “Express Oil Change/Tire Engineers” negatively affect
the lives, property, economy or security of l\/iississippi residents or national defense.
(Afiidavit of 5 osh Henderson,1j 10).

17. Tire Engineers has received permission from the states of Alabama,
Florida, Georgia, North Carolina, South Carolina, Tennessee, Virginia and
Louisiana to use its federally registered service marks, including the use of the term
“engineers”, despite the presence in those states of a statutory framework and
language similar to l\/Iississippi. (Aff`idavit of J osh Henderson, 1l l4).

V. DECLARATORY |UDGMENT

18. The Deciaratory judgment Act, 28 U.S.C. §§ 2201- 2202, states:

In a case of actual controversy within its jurisdiction, . . . any court

of the United States, upon the filing of an appropriate pleading may

declare the rights and other legal relations of any interested party

seeking such declaration, whether or not further relief is or could

be sought. Any such declaration shall have the force and effect of a

final judgment or decree and shall be reviewable as such.

28 U.S.C. § 2201[a]. As shown by the Board’s Opinion and under controlling
authority, the Parties to this action have an actual and justiciable controversy.

19. Specifically, Tire Engineers contends that the Board's Opinion that

the use of "Engineers" in its trade name violates l\/iississippi law:

Case 3:16-cv-00414-HTW-LRA Document 1 Filed 06/02/16 Page 8 of 10

a. Violates Tire Engineers’ rights of commercial free speech
guaranteed by the First Amendment to the United States Constitution, as
applied to the states through the Fourteenth Amendment. Central Hudson Gas
& Elec. vl Public Serv. Cornm’n, 447 U.S. 557, 561-66, 100 S. Ct. 2342, 2349-51
[1980]; and

b. Violates Tire Engineers' rights under preemptive federal
trademark law under the Lanham Trademark Act of 1946, 15 U.S.C. §§ 1051-
1127.

RELIEF RE UESTED

Tire Engineers requests that this Honorabie Court enter a judgment:

20. Declaring that Tire Engineers’ use of “Engineers” in its trade name
does not violate l\/lississippi Code §§ 73~13~1 through 73-13-45.

21. Declaring that Tire Engineers’ use of "Engineers” in its trade name
is a proper and valid use under its commercial free speech rights and any
attempt by the Board to prevent this use is an improper exercise of its state
police powers

22. Declaring that ri`ire Engineers' use of “Engineers” in its trade name
is a proper and valid use under the rights granted by the Lanham Trademark
Act throuin federal service marks 1] “Tire Engineers” bearing USPTO

Registration No. 4,442,726; 2] “TE” bearing USPTO Registration NO. 4,623,570,

 

Case 3:16-cv-00414-HTW-LRA Document 1 Filed 06/02/16 Page 9 of 10

and 3) “Express Oil Change/Tire Engineers" bearing USPTO Registration No.
4,566,952.

23. Permanently enjoining and restraining the Board and each of its
agents employees officers attorneys successors assigns affiliates and any
persons in privity or active concert or participation with any of them from
interfering with Tire Engineers' current use of "Engineers” in its trade name in

interstate commerce in conjunction with its federally-registered marks as

described above.
24. Requiring the Defendant to reimburse Plaintiffs for attorneys fees
and costs associated with the prosecution of this Declaratory judgment Action.

Respectfully submitted this the Mday of ]une, 2016

steph;/M. wilson (Mss 9058)

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Case 3:16-cv-00414-HTW-LRA Document 1 Filed 06/02/16 Page 10 of 10

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